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                                 Breaking News: Gambia: DID JAMMEH SELLS IRANIAN ARMS TO
                                 HEZBOLLAH?


                                                                            DID
                                                                            JAMMEH
                                                                            SELLS
                                                                            IRANIAN
                                                                            ARMS TO
                                                                            HEZBOLLAH?
                                                                            President Jammeh
                                                                            Allegedly Receives
                                                                            100 million dollars
                                                                            Annually From Arms
                                                                            Trafficking-A Source
                                                                            Alleged

                                 Who Is Lebanese Muhammed
                                 Bazzi?


                                 B      ANJUL, THE GAMBIA—There is a Hezbollah cartel in Banjul,
                                 who are acting in concert with the country’s President Yahya
                                 Jammeh to sell arms to the terrorist group’s main base in Lebanon,
                                 a source reaching the Freedom Newspaper has alleged. The arms
                                 deal goes like this: Gambia procures the arms from Iran, and in
                                 turn sells these deadly weapons to Hezbollah, the source further
                                 alleged. It is a well coordinated scheme, which has been going on
                                 for a while. It is alleged that Gambia’s President Yahya Jammeh,
                                 who is at the centre of this arms proliferation scheme, has been
                                 making over 100 million dollars a year just from arms
                                 trafficking. This is an estimated figure pending further
                                 verifications.

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                               The illegal arms proliferation scheme between Tehran, and The
                              Gambia, contributed immensely towards Mr. Jammeh’s ill-gotten
                              wealth. Mr. Jammeh’s Government had signed a three years arms
                              supply deal with Tehran, prior to their diplomatic breakaway,
                              which he (Jammeh) exploits to the maximum. His own Foreign
                              Minister Dr. Momodou Tangara, told his Senegalese counterpart
                              Mr. Niang that some of these Iranian arms landed in The Gambia
                              back in 2005. Mr. Tangara claimed that the arms were meant for
                              homeland security.

                              But a source reaching the Freedom Newspaper disagrees. Some of
                              the arms that were being trafficked from Iran to The Gambia, were
                              meant for commercial purposes, the source alleged. The President
                              has been accused of acting in concert with some Lebanese alleged
                              Hezbollah supporters in The Gambia to dispose of these arms to
                              the Lebanon home grown terror network.

                              It is imperative to note that some of the Iranian arms also landed
                              in the hands of the MFDC rebel fighters in the Casamance. This
                              was evident when a Senegalese army intelligence unit informed
                              the Wade Government that the bullets that killed its soldiers in
                              Casamance recently were that of Iranian arms.

                              The intercepted Iranian arms , are currently a subject of legal
                              litigation in Nigeria, where a member of the Iranian Revolutionary
                              Guard, and other accused persons are standing trial for arm
                              trafficking. Nigerian Customs officials had intercepted 13
                              containers of arms that were destined for President Jammeh's
                              Kanilai Farms.

                              “Additionally, most of the drugs Jammeh was selling were
                              distributed at one point through Hezbollah. These activities were
                              the basis for Jammeh saying that none of his descendants would
                              ever be poor and the references to "Bank of Allah," our source
                              alleged.

                                          Who Is Muhammed Bazzi?
                              According to our source who has been digging into Muhammad
                                                                   Bazzi’s business activities in
                                                                   The Gambia, Bazzi is from
                                                                   a small village in Southern
                                                                   Lebanon. Bazzi, said the
                                                                   source, is semi-literate in
                                                                   Arabic, who lived for most
                                                                   of his life in Sierra Leone.
                                                                   He was brought to The
                                                                   Gambia by Tarik Musa as
                                                                   one of his boys. One of his
                                                                   main tasks was to carry out
                                                                   errands for Tarik especially
                                                                   those involving Yahya
                              Jammeh.


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                              “It however did not take long for Bazzi to demonstrate that whilst
                              he is not educated, he is very wily and cunning and he soon
                              dethroned Tarik Musa as head of the Jammeh-aligned mafia. The
                              first lesson he learnt from Tarik was the way Yahya Jammeh robs
                              the Gambian people,. “said our source.

                               Mr. Jammeh prefers to conduct business deals with Lebanese
                              businesses than home based Gambian companies. He doesn’t
                              want Gambians to know to what extent he steals from them. He
                              entrusts most of his businesses to non Gambians.

                              “I am sure The Gambian people have noticed that almost all
                              Gambian government vehicles are Mitsubishis. They may have
                              also noticed that even semi-important government employees
                              drive Misibishi Pajeros which cost close to $50,000. Very
                              expensive vehicles for such a poor country. The reason for this
                              extravagance is simple. Yahya Jammeh gets 10% of all
                              government revenues derived by T K Motors, the vendors of these
                              ubiquitous Pajeros and Mitsubishi vehicles,” our source noted.

                              According to our source “Muhammad Bazzi stroke of genius was to
                              come up with a plan to be awarded a monopoly for the sale of all
                              petroleum products in The Gambia. He registered a company
                              called "GamPetroleum" of which he owns 99%.”

                              It is only in The Gambia, where investors would be awarded
                              investment license without having enough cash in the Bank to run
                              their purported business ventures. “The funds to run this company
                              (Gam-petroleum) was provided by the Social Security and Housing
                              Finance Corporation as a "loan". This arrangement was made
                              possible by the SSHFC. Gam-petroleum is by far the biggest
                              corporation in The Gambia with gross revenues approaching 120
                              million dollars. Yahya Jammeh gets a percentage of this revenue
                              but I don't know the exact arrangement,” our source explained.

                              Mr. Bazzi, who is Gambia’s Consul General to Lebanon, owns
                              numerous companies in The Gambia, including Gamtrading. He
                              was also very instrumental in the sale of GAMTEL, the country’s
                              main telecommunication company. The co owners of the
                              establishment Spectrum Group, owns 50 percent of GAMTEL’S
                              shares, while Bazzi is also entrusted with managing Gambia’s ailing
                              energy sector (NAWEC).

                              “The Bazzi Mafia, is also in control of all telecommunications in The
                              Gambia through a Spanish company. This arrangement is worthy
                              of a whole article,” our source hinted.

                              “Needless to say, Muhammad Bazzi generates a lot of cash. This
                              posed a lot of problems to him as Bazzi does not invest in The
                              Gambia. He does not even own a house in The Gambia. Like most
                              expatriate Lebanese in Gambia, he prefers to keep his money out
                              of the country as he does not trust Yahya and knows that a new
                              government will confiscate his ill-gotten wealth,” our confidential
                              source added.


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                              At one point, alleged our source “Bazzi was sending one of his key
                              men with bags of dollars to Lebanon every week. The diplomatic
                              and intelligence community in The Gambia however began to
                              notice this money laundering activity. So, Bazzi’s next stroke of
                              genius was to register his own money laundering 1-branch bank
                              called Prime Bank. As you know however, this bank is now
                              blacklisted as the watch was still on him. According to the Drug
                              Enforcement Agency of the United States "LCB’s other links to
                              Hezbollah include LCB’s subsidiary, Gambia-based Prime Bank,
                              which is partially owned by a Lebanese individual known to be a
                              supporter of Hezbollah."

                              “This individual is Muhammad Bazzi. Bazzi's utility to Jammeh is
                              that he was the conduit between Iranian arms and Hezbollah.
                              Jammeh would get the arms from Iran and then sell them to
                              Hezbollah. Before his recent exposure, Jammeh was making over
                              100 million dollars a year just from arms trafficking. Additionally,
                              most of the drugs Jammeh was selling were distributed at one
                              point through Hezbollah. These activities were the basis for
                              Jammeh saying that none of his descendants would ever be poor
                              and the references to "Bank of Allah". Now, however, the monster
                              is broke as all these illegal avenues have been closed by the west
                              as the noose slowly tightens around the neck of the monster,” our
                              source alleged.

                              The Bazzi Mafia is run in the Gambia by an individual called (name
                              withheld) pending further investigations, who is literate and lived
                              in the UK. His other key lieutenants include (name withheld) who
                              is in charge of finance and operations and one (name withheld)
                              who is in charge of procurement. Mr. Bazzi’s business associates
                              (partners) within, and outside The Gambia would be revealed
                              later.

                              Finally, said our source “another important Jammeh partner is
                              (name withheld) who is married to First Lady Zaineb Jammeh's
                              sister and once lived in the United States. He is the smartest of the
                              lot and at one point even managed Kanilai Group International.”

                              “The Bazzi Mafia group is very powerful and ruthless. They are
                              robbing The Gambian people at the behest of our gangster
                              President. Gambians who deal with these individuals should be
                              very careful as they are in the sights of the DEA as is Jammeh,"
                              the source further alleged.

                               When contacted for comments, an insider within Bazzi’s business
                              company in The Gambia said the company has a procurement
                              division in Banjul. But the insider would not comment on alleged
                              allegations with Hezbollah ties.

                              “ How do you get my number? I don’t have anything to tell you
                              about it for.. okay. I don’t have no clue, and no idea, and I don’t
                              think you don’t have the right to ask from the phone as well,
                               someone I don’t know who I am talking to. How do you get my
                              number? I want you tell me.…” the insider remarked.


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                              The insider noted that if a company is very successful, there is
                              bound to be rumors spread around the company. The insider
                              urged this reporter to call him on Monday, to schedule an
                              appointment for an interview on the matter.

                              There was no phone listing available for Muhammed Bazzi to reach
                              him for his own side of the story.

                              The Freedom Newspaper tried to reach Gambia’s Interior Minister
                              Ousman Sonko for comments, but one of his siblings received the
                              phone. “ My Dad is praying,” Mr. Sonko’s son told this paper. A
                              follow up phone call to reach Sonko for comments again, but the
                              Minister wouldn’t pick up the phone.

                              Also on our radar of line of investigations, was one Malick Mboge, a
                              business partner ( Associate) of President Jammeh. Mr. Mboge's
                              name surfaced during the course of our investigations. We wanted
                              him to throw light on some issues of national concern, but he was not
                              available for comments. We tried to reach Mr. Mboge for comments,
                              but we were told that the subscriber of the said cell number had
                              bared incoming calls. He was indisposed for comments at press time.




                              Posted on Saturday, February 26, 2011 (Archive on Wednesday, March 30, 2011)
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